Case 2:05-cr-20218-SH|\/| Document 8 Filed 08/09/05 Page 1 of 2 Page|D 7

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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TENNESSEE 05 AUG ,*9 m 8: 3b
Western Division

   

UNITED STATES OF AMERICA f £EW§;
V‘I':l‘ t,. i. ,
-vs_ Case No. 2:05cr2021

     

...J~.-i?HES
8- a

SEAN SIMPSON

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE AC'I`

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
- The Federal Public Defender is appointed as counsel for the Defendant.

TYPE OF APPOINTMENT

DONE and ORDERED in 167 North Main, Memphis, this g day of August,

 

 

2005.
‘ 1__J
V ‘TU M. PHAM
UNITED STATES MAGISTRATE JUDGE
Copies furnished to:
United States Attorney
United States Marshal

Pretrial Services Office

Assista.nt Federal Public Defender
Intake

SEAN SIMPSON

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Notice of Distribution

This notice confirms a copy ofthc document docketed as number 8 in
case 2:05-CR-202] 8 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listcd.

 

 

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

